USCA Case #24-3192       Document #2099872               Filed: 02/10/2025   Page 1 of 17
            NOT YET SCHEDULED FOR ORAL ARGUMENT

              United States Court of Appeals
            for the District of Columbia Circuit

                                        No. 24-3192


                        UNITED STATES OF AMERICA,

                                                                  Plaintiff-Appellee,

                                             v.

                                DOUGLAS EDELMAN,

                                                               Defendant-Appellant.

         On Appeal from the Order of the United States District Court
          for the District of Columbia in No. 1:24-cr-00239-CKK-1,
         Honorable Colleen Kollar-Kotelly, U.S. Senior District Judge.

                APPELLANT’S REPLY
            MEMORANDUM OF LAW AND FACT


 GEORGE M. CLARKE III                             SONYA C. BISHOP
 BAKER & MCKENZIE LLP                             BAKER & MCKENZIE LLP
 815 Connecticut Avenue NW                        452 Fifth Avenue
 Washington, DC 20006                             New York, New York 10018
 (202) 835-6184                                   (212) 626-4591
 george.clarke@bakermckenzie.com                  sonya.bishop@bakermckenzie.com

                          Counsel for Defendant-Appellant

 February 10, 2025

                 (800) 4-APPEAL • (369587)
USCA Case #24-3192                 Document #2099872                         Filed: 02/10/2025             Page 2 of 17



                                         TABLE OF CONTENTS

ANALYSIS ................................................................................................................1
I.       Section 3148(b)(2)(B) detention warrants independent review. .....................1
II.      Edelman may not be detained under § 3148(b)(2)(B) without clear and
         convincing evidence. .......................................................................................4
III.     Section 3148(b)(2)(B) cannot be applied to usurp a presumptively innocent
         person’s Constitutional rights. .........................................................................6
         A.       This Court must interpret § 3148(b)(2)(B) to be Constitutional. ..........6
         B.       Section 3148(b)(2)(B) detention is drastic and reserved for danger of
                  significant interference of judicial proceedings. ...................................7
         C.       Without a second chance, the district court detained Edelman
                  arbitrarily. ..............................................................................................9
CONCLUSION ........................................................................................................10




                                                             i
USCA Case #24-3192                 Document #2099872                      Filed: 02/10/2025            Page 3 of 17



                                     TABLE OF AUTHORITIES
                                                                                                            Page(s)
Cases
Bitter v. United States,
  389 U.S. 15 (1967) ..................................................................................................7
Johnson v. United States,
  576 U.S. 591 (2015) ......................................................................................... 6, 10
Kleinbart v. United States,
 604 A.2d 861 (D.C. 1992) ......................................................................................5
Sessions v. Dimaya,
  584 U.S. 148 (2018) ................................................................................................6
Stack v. Boyle,
  342 U.S. 1 (1951) ..................................................................................................10
U.S. Civ. Serv. Comm’n v. Natl. Ass’n of Ltr. Carriers,
 413 U.S. 548 (1973) ................................................................................................7
United States v. Alston,
 420 F.2d 176 (D.C. Cir. 1969) ..............................................................................10
United States v. Chilcoat,
 No. CR 22-299 (CKK), 2024 WL 148967 (D.D.C. Jan. 12, 2024) ........................9
United States v. DeGrave,
 539 F. Supp. 3d 184 (D.D.C. 2021) ........................................................................4
United States v. Edelman,
  No. 24-CR-239-1 (CKK) (Dec. 11, 2024) ..................................................8, 9, 10

United States v. Hale-Cusanelli,
 3 F.4th 449 (D.C. Cir. 2021) ...............................................................................2, 3
United States v. Hurtado,
 779 F.2d 1467 (11th Cir. 1985) ..........................................................................1, 3
United States v. Jones,
 939 F. Supp. 2d 6 (D.D.C. 2013) ............................................................................4
United States v. Little,
 123 F.4th 1360 (D.C. Cir. 2024) .............................................................................4


                                                           ii
USCA Case #24-3192                 Document #2099872                       Filed: 02/10/2025            Page 4 of 17



United States v. Manafort,
 897 F.3d 340 (D.C. Cir. 2018) ................................................................................2
United States v. Mercer,
 4 F. Supp. 3d 147 (D.D.C. 2013) ............................................................................4
United States v. Munchel,
 991 F.3d 1273 (D.C. Cir. 2021) ..................................................... 2, 3, 5, 6, 7, 8, 9
United States v. Portes,
 786 F.2d 758 (7th Cir. 1985) ..................................................................................3
United States v. Rapone,
 131 F.3d 188 (D.C. Cir. 1997) ................................................................................4
United States v. Salerno,
 481 U.S. 739 (1987) ............................................................................. 5, 6, 7, 8, 10
United States v. Stanley,
 469 F.2d 576 (D.C. Cir. 1972) ............................................................................1, 2
United States v. Thomas,
  No. 23-CR-0069-1 (CKK) (D.D.C. Aug. 28, 2024) ............................................. 9

United States v. Vasquez-Benitez,
 919 F.3d 546 (D.C. Cir. 2019) ................................................................................3
Yee v. City of Escondido,
  503 U.S. 519 (1992) ................................................................................................4


Statutes and Legislative History
18 U.S.C. § 3142 ..................................................................................... 2, 3, 5, 6, 10
18 U.S.C. § 3148 ..................................................................... 1, 2, 3, 4, 5, 6, 7, 9, 10
S. Rep. 98-225 ................................................................................................... 2, 5, 8




                                                           iii
USCA Case #24-3192       Document #2099872           Filed: 02/10/2025   Page 5 of 17



                                    ANALYSIS

      For defendants who have merely violated a court order, the revocation of bail

under § 3148(b)(1)(B) is Constitutional only where a court determines by clear and

convincing evidence that detention is necessary to prevent significant interference

with court proceedings. That determination may be made only after the court warns

the defendant and gives him the opportunity to reform.

I.    Section 3148(b)(2)(B) detention warrants independent review.

      On an appeal arising from detention, this Court has “the duty to make an

independent determination of all relevant factors.” United States v. Stanley, 469 F.2d

576, 586 (D.C. Cir. 1972). This was true even before Congress amended the Bail

Reform Act in 1984. Id. It must be true after. See United States v. Hurtado, 779 F.2d

1467, 1472 (11th Cir. 1985) (“The affirmative congressional decision to repeal the

deferential standard of the [previous] Act is . . . instructive.”). But the government

asks this Court to buck a majority of its sister circuits who apply independent or de

novo review for such decisions. See Appellant Memorandum of Law and Fact

(Under Seal), No 24-3192 (“Edelman Memo.”) at 4.1 In doing so, the government

also asks this Court to disregard Congress’s directive and the presumption of


1
  The government asks this Court to adopt the minority approach of the Second and
Fourth Circuits. See Appellee’s Memorandum of Law and Fact (“Gov’t Response”)
at 13-14. But see Hurtado, 779 F.2d at 1473 (“These courts reached their conclusions
largely by extending precedents applicable to provisions of the prior Act which
Congress chose not to include in the 1984 version.”).
                                          1
USCA Case #24-3192       Document #2099872            Filed: 02/10/2025    Page 6 of 17



innocence to apply a lower standard for pretrial detention than post-conviction

detention. Cf. Stanley, 469 F.2d at 586 (independently reviewing post-conviction

detention order); S. Rep. 98-225 at 7 (“[P]retrial detention is in no way a derogation

of the importance of the defendant’s interest in remaining at liberty prior to trial.”).

      Conceding that this Court has not “explicitly addressed the appropriate

standard of review” for § 3148(b)(2)(B) detention, the government proposes that

United States v. Hale-Cusanelli, 3 F.4th 449, 454-55 (D.C. Cir. 2021), established a

“general rule for review of detention orders.” Gov’t Response at 13. But Hale-

Cusanelli only reviewed dangerousness-based detention. 3 F.4th at 454-55. The sole

controlling precedent Hale-Cusanelli cited for the clear-error review is United States

v. Munchel, 991 F.3d 1273, 1282 (D.C. Cir. 2021), which likewise applied the clear-

error standard to dangerousness determinations.2 And this Court has recognized that

review of § 3148(b)(2)(B) detentions differs from dangerousness-based detention.

See United States v. Manafort, 897 F.3d 340, 346 n.2 (D.C. Cir. 2018) (declining to

apply dangerousness-based review standard for § 3148(b)(2)(B) detention). Indeed,

§ 3148(b)(2)(B) detention warrants more scrutiny than dangerousness-based

detention because it is the only avenue to pretrial detention not guided by § 3142(g)



2
  Munchel adopted clear-error review on the condition that “the government must
prove all relevant facts by clear and convincing evidence.” Munchel, 991 F.3d at
1285 (internal quotation marks omitted). Thus, if the Court were to follow Munchel,
it should also apply that same clear-and-convincing standard of proof.
                                           2
USCA Case #24-3192       Document #2099872           Filed: 02/10/2025    Page 7 of 17



factors. See § 3142(g) (providing statutory factors for § 3142(e) pretrial detention

based on flight risk or dangerousness); see also § 3148(b)(2)(A) (incorporating §

3142(g)).3

      Having no authority for its position, the government retreats to calling the

district court’s determination of Edelman’s likelihood to comply a “factual finding”

reviewable by clear error. Gov’t Response at 14 n.3. But detention determinations

“require the trial court to exercise judgment and discretion in applying legal

standards to certain facts” and therefore are mixed questions of law and fact that

demand independent review. See Hurtado, 779 F.2d at 1472; see also United States

v. Portes, 786 F.2d 758, 763 (7th Cir. 1985) (“In assessing the facts against [the Bail

Reform Act’s] criteria, we are not restricted by the ‘clearly erroneous’ standard and

must engage in an ‘independent review’ of the case.”).

      The government’s invocation of plain-error review also fails. Edelman

vigorously contested the application of § 3148(b)(2) throughout these proceedings.

He argued not only that he would comply with the current conditions but that he

would comply with additional release conditions. See Nov. 27 Hearing Tr. at 8:7-10,

No. 24-CR-239-1-CKK (ECF 44); Dec. 11 Hearing Tr. at 18:22-19:6, No. 24-CR-


3
  This Court has never applied clear-error review to a detention decision wholly
devoid of § 3142(g) analysis. All three cases the government cited for clear-error
review concerned detention decisions based on § 3142(g) factors. See Gov’t
Response at 13 (citing Hale-Cusanelli, 3 F.4th at 454-55; Munchel, 991 F.3d at
1282; and United States v. Vasquez-Benitez, 919 F.3d 546, 551 (D.C. Cir. 2019)).
                                          3
USCA Case #24-3192       Document #2099872            Filed: 02/10/2025    Page 8 of 17



239-1-CKK (ECF 52); Edelman’s Response at 1, 14, 18, 36, No. 24-CR-239-1-CKK

(ECF 46). This put the district court on notice of the arguments he now raises,

including that he should be given a second chance with or without new conditions

and should have been warned before being detained. Raising more comprehensive

legal authorities and more robust arguments on appeal on a claim already presented

to the district court does not trigger plain-error review. See Yee v. City of Escondido,

503 U.S. 519, 534 (1992) (once a claim is properly presented, “parties are not limited

to the precise arguments they made below”); United States v. Rapone, 131 F.3d 188,

196 (D.C. Cir. 1997) (when criminal case presented a legal issue, it is not

“appropriate to ignore relevant legal authority simply because it was not considered

in the court below”); cf. United States v. Little, 123 F.4th 1360, 1370 (D.C. Cir.

2024) (applying plain error where defendant attempted to assert a new issue on

appeal after conceding that issue).

II.   Edelman may not be detained under § 3148(b)(2)(B) without clear and
      convincing evidence.

      Pretrial release is the “general norm.” See, e.g., United States v. DeGrave, 539

F. Supp. 3d 184, 198 (D.D.C. 2021). To deviate from that norm, the government

must “demonstrat[e] the appropriateness of pretrial detention by clear and

convincing evidence.” United States v. Jones, 939 F. Supp. 2d 6, 9 (D.D.C. 2013);

United States v. Mercer, 4 F. Supp. 3d 147, 149 (D.D.C. 2013) (same).

      The Supreme Court has declared that the clear-and-convincing evidentiary

                                           4
USCA Case #24-3192       Document #2099872            Filed: 02/10/2025    Page 9 of 17



standard is a Constitutional mandate for pretrial detention. See United States v.

Salerno, 481 U.S. 739, 750-51 (1987) (allowing pretrial detention under the “narrow

circumstances” where “the Government musters convincing proof” that individuals

presented “an identifiable and articulable threat”). As this Court observed, “[t]he

crux of the constitutional justification for preventive detention under the Bail

Reform Act is that . . . the Government proves by clear and convincing evidence” a

“clearly identified” risk. Munchel, 991 F.3d at 1282. Now the government claims

that Salerno does not extend from § 3142 initial detention to § 3148 revocation,

because revocation is “meaningfully different” and “arises where a defendant has

violated” a release condition. Gov’t Response at 19-20. But the clear-and-convincing

evidence standard is “a requirement of due process.” Kleinbart v. United States, 604

A.2d 861, 869 (D.C. 1992). Since the government cannot seriously contend that §

3148 revocation is not subject to due process, Salerno’s requirement for clear and

convincing evidence “necessarily carries over.” See id.

      Indeed, detention under § 3148(b)(2)(B) demands no less evidence than

detention based on dangerousness. Congress did not exclude § 3148(b)(2)(B)

detention when declaring that pretrial detention may not derogate “the importance

of defendants’ due process interest in remaining at liberty prior to trial.” See S. Rep.

98-225 at 7. Congress spoke definitively: Section 3148(b)(2)(B) detention requires

a showing that “it is clear” future violations “will continue.” Id. at 35. Surely


                                           5
USCA Case #24-3192      Document #2099872          Filed: 02/10/2025    Page 10 of 17



defendants detained under § 3148(b)(2)(B) deserve at least as much due process

protection as those deemed dangerous to society. And clear and convincing evidence

is necessary to the Constitutionality of § 3148(b)(2)(B) detention because it lacks

other procedural safeguards. Cf. Salerno, 481 U.S. at 750-52 (identifying

“procedural safeguards” like § 3142(g) “statutorily enumerated factors,” which did

not apply to § 3148(b)(2)(B) detention); see Munchel, 991 F.3d at 1283 (detention

based solely on likelihood of non-compliance could “extend beyond the limits set

by Congress”).

III.   Section 3148(b)(2)(B) cannot be applied to usurp a presumptively
       innocent person’s Constitutional rights.

       A.    This Court must interpret § 3148(b)(2)(B) to be Constitutional.

       Sections 3142(e), 3148(b)(2)(A), and 3148(b)(2)(B) permit the detention of a

presumptively innocent person. But unlike §§ 3142(e) and 3148(b)(2)(A), which

both default to statutory factors Congress provided in § 3142(g) to “further the

accuracy of” judicial predictions, § 3148(b)(2)(B) has no such guideposts. Cf.

Salerno, 481 U.S. at 751-52 (holding that the court “with the responsibility of

determining the appropriateness of detention [be] guided by statutorily enumerated

factors”). Thus, § 3148(b)(2)(B) is the type of criminal statute that is particularly

susceptible to risks of “arbitrary enforcement by judges.” Johnson v. United States,

576 U.S. 591, 595-97 (2015); see Sessions v. Dimaya, 584 U.S. 148 (2018) (a statute

with “an ill-defined risk threshold . . . necessarily devolved into guesswork and

                                         6
USCA Case #24-3192       Document #2099872            Filed: 02/10/2025     Page 11 of 17



intuition, invited arbitrary enforcement, and failed to provide fair notice” (internal

quotation marks omitted)). To ensure the Constitutionality of § 3148(b)(2)(B), this

Court must provide guidance on how to interpret and apply § 3148(b)(2)(B) within

the Constitution’s limits. See U.S. Civ. Serv. Comm’n v. Natl. Ass’n of Ltr. Carriers,

413 U.S. 548, 571 (1973) (courts should “construe [statutes] . . . so as to comport

with constitutional limitations”). Otherwise, defendants’ due process interest in

liberty, the right to be presumed innocent, and right to a fair trial would be reduced

to “aspirational,” i.e., ultimately meaningless, words.

      B.     Section 3148(b)(2)(B) detention is drastic and reserved for danger
             of significant interference of judicial proceedings.

      Detention before trial becomes an impermissible punishment once it appears

excessive relative to the danger posed by the detainee. See Salerno, 481 U.S. at 747

(pretrial detention may not be “excessive in relation to the regulatory goal”); see also

Bitter v. United States, 389 U.S. 15, 17 (1967) (detention due to an insignificant

violation was “punishment rather than of an order designed solely to facilitate the

trial”). Accordingly, to justify deprivation of liberty without trial, there must be clear

and convincing evidence that the violations have resulted in significant

consequences and articulable harm. See Salerno, 481 U.S. at 751 (due process

requires “the Government prove[] by clear and convincing evidence that an arrestee

presents an identified and articulable threat”); see also Munchel, 991 F.3d at 1282-

83 (“[T]o order a defendant preventatively detained, a court must identify an

                                            7
USCA Case #24-3192          Document #2099872         Filed: 02/10/2025     Page 12 of 17



articulable threat . . . . The threat need not be of physical violence . . . . But it must

be clearly identified.”).

      As applied to the facts here, the Constitution does not authorize incarcerating

a non-violent 72-year-old for sending 29 text messages to two friends. The

Constitution only permits regulatory detention necessary to prevent a clearly

“identified and articulable threat.” Salerno 481 U.S. at 751; Munchel 991 F.3d at

1282-83 (risk “must be clearly identified”); S. Rep. 98-225 at 8 (pretrial detention

permitted if “necessary to serve the societal interests it is designed to protect”).

Edelman’s actions were neither proven nor found to cause articulable harm to the

integrity of the proceedings against him, let alone harm so significant to permit

detention before trial. The district court’s revocation order, minute order, and

revocation hearing transcript fail to identify any actual or potential harm of

Edelman’s messages. The closest the revocation order gets is its statement that

Edelman “curried favor with” Dooner when he agreed to try and help Dooner obtain

his own property. See United States v. Edelman, No. 24-CR-239-1-CKK (Dec. 11,

2024) (slip op. at 14) (“Revocation Order”). But even that alleged “curr[ying] favor”

is not supported by clear and convincing evidence. The government produced no

evidence that Edelman’s “pleasantries” made Dooner more inclined to testify in

Edelman’s favor. Dooner’s previous and ongoing cooperation with the

government—including the production of these very texts with Edelman—prove the


                                            8
USCA Case #24-3192      Document #2099872          Filed: 02/10/2025   Page 13 of 17



opposite.

      C.    Without a second chance, the district court detained Edelman
            arbitrarily.

      Edelman’s detention highlights the need to prevent judicial arbitrariness in

future application of § 3148(b)(2)(B). Judge Kollar-Kotelly jettisoned her months-

earlier approach that required clear and convincing evidence for § 3148(b)(2)(B)

cases and accepted the government’s proffer of facts on the merits of this case (not

Edelman’s violations) that have not been proven beyond a reasonable doubt. Id. at

17 (finding Edelman “untrustworthy” based on the government’s proffer); compare

id. at 20 (determining likelihood of compliance by a preponderance of the evidence),

with Mem. Op. at 11, United States v. Thomas, No. 23-CR-0069-1-CKK (D.D.C.

Aug. 28, 2024) (ECF 50) (determining same by clear and convincing evidence). The

court also refused to give Edelman a chance to reform, despite “extending a second

chance” to another detainee months earlier. United States v. Chilcoat, No. CR 22-

299 (CKK), 2024 WL 148967, at *6 (D.D.C. Jan. 12, 2024).

      The district court seemed to be most troubled that it could not “ensure

[Edelman’s] future compliance.” Revocation Order at 18-19 (emphasis added). But

the law “does not demand absolute certainty that a defendant will comply with

release conditions because a stricter regime would be only a disguised way of

compelling commitment in advance of judgment.” See Munchel, 991 F.3d at 1283

(internal quotation marks omitted). To the extent § 3148(b)(2)(A) requires assurance

                                         9
USCA Case #24-3192      Document #2099872          Filed: 02/10/2025    Page 14 of 17



that defendants’ release poses no flight risk or danger, it also mandates courts to

answer the inquiry “based on the factors set forth in section 3142(g),” which are

“specifically designed to further the accuracy of” judicial predictions. See Salerno,

481 U.S. at 751; United States v. Alston, 420 F.2d 176, 179 (D.C. Cir. 1969)

(detention determinations should not “concentrate[] on” factors favoring one

conclusion and “deal[] only briefly with [countervailing] items”). Absent that

protection, requiring an absolute certainty of compliance is not only arbitrary but

devolves into a game of “judicially imagined” situations. See Johnson, 576 U.S. at

597; see, e.g., Revocation Order at 19 (imagining hypothetical possible violations).

                                  CONCLUSION

      The Constitution demands predictable enforcement of criminal laws. Edelman

does not ask for immunity—he only asks for the second chance consistently given

to presumptively innocent persons in district courts in this Circuit and others. See

Edelman Memo. at 16 (collecting cases). Section 3148(b)(2)(B) cannot be used to

incarcerate him without such due process. If it could be, “the presumption of

innocence, secured only after centuries of struggle, would lose its meaning.” Stack

v. Boyle, 342 U.S. 1, 4 (1951).




                                         10
USCA Case #24-3192        Document #2099872      Filed: 02/10/2025   Page 15 of 17



Respectfully submitted,


/S/ George M. Clarke III                       /S/ Sonya C. Bishop
GEORGE M. CLARKE III                          SONYA C. BISHOP
Bar No. 480073                                Bar No. 65740
George.clarke@bakermckenzie.com               Sonya.bishop@bakermckenzie.com
BAKER & McKENZIE LLP                          BAKER & McKENZIE LLP
815 Connecticut Ave., N.W.                    452 Fifth Ave.
Washington, D.C. 20006                        New York, N.Y. 10018
(202) 835-6184                                (332) 215-5812

Counsel for Defendant-Appellant.

Dated: February 10, 2025




                                        11
USCA Case #24-3192     Document #2099872          Filed: 02/10/2025   Page 16 of 17



                     CERTIFICATE OF COMPLIANCE

      The foregoing Appellant’s Reply Memorandum of Law and Fact complies

with the typeface requirements of Federal Rules of Appellate Procedure 27(d)(1)(E)

and 32(a)(5) and the type-style requirements of Federal Rules of Appellate

Procedure 27(d)(1)(E) and 32(a)(6) because it has been prepared in a proportionally

spaced typeface in 14-point Times New Roman.

      This memorandum also complies with D.C. Circuit Rule 9(a)(4) and Federal

Rules of Appellate Procedure 27(d)(2) because it contains 2,388 words, excluding

the parts exempt by Federal Rules of Appellate Procedure 32(f) and D.C. Circuit

Rule 32(e)(1).



                                              /S/ Sonya C. Bishop
                                              SONYA C. BISHOP
                                              Bar No. 65740
                                              Sonya.bishop@bakermckenzie.com
                                              BAKER & McKENZIE LLP
                                              452 Fifth Ave.
                                              New York, N.Y. 10018
                                              (332) 215-5812

                                              Counsel for Defendant-Appellant

                                              Dated: February 10, 2025




                                        12
USCA Case #24-3192     Document #2099872           Filed: 02/10/2025   Page 17 of 17



                        CERTIFICATE OF SERVICE

      I hereby certify that on February 10, 2025, I caused the foregoing Appellant’s

Reply Memorandum of Law and Fact to be e-filed with the Clerk of the Court by

using the appellate CM/ECF system and caused eight hardcopies of the

memorandum to be delivered to the Court via FedEx Overnight Mail.

      Participants in the case who are registered CM/ECF users will be served by

the appellate CM/ECF system.



                                              /S/ Sonya C. Bishop
                                              SONYA C. BISHOP
                                              Bar No. 65740
                                              Sonya.bishop@bakermckenzie.com
                                              BAKER & McKENZIE LLP
                                              452 Fifth Ave.
                                              New York, N.Y. 10018
                                              (332) 215-5812

                                              Counsel for Defendant-Appellant

                                              Dated: February 10, 2025




                                        13
